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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


    UNITED STATES OF AMERICA,

            v.
                                                                Criminal Action No. 23-257 (TSC)
    DONALD J. TRUMP,

                   Defendant.


                                   MEMORANDUM OPINION

          The United States has charged former President Donald J. Trump with four counts of

criminal conduct that he allegedly committed during the waning days of his Presidency. See

Indictment, ECF No. 1. He has moved to dismiss the charges against him based on Presidential

immunity, ECF No. 74 (“Immunity Motion”), and on constitutional grounds, ECF No. 113

(“Constitutional Motion”). 1 For the reasons set forth below, the court will DENY both motions.

                                      I.      BACKGROUND

          At the motion to dismiss stage, the court assumes the truth of the Indictment’s

allegations. See, e.g., United States v. Weeks, 636 F. Supp. 3d 117, 120 (D.D.C. 2022).

Defendant contends that the charges in the Indictment are based on his “public statements and

tweets about the federal election and certification,” “communications with the U.S. Department

of Justice about investigating elections crimes and possibly appointing a new Acting Attorney



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    Defendant has also moved to dismiss based on statutory grounds, ECF No. 114, and for
    selective and vindictive prosecution, ECF No. 116. The court will address those motions
    separately. The Supreme Court has “repeatedly . . . stressed the importance of resolving
    immunity questions at the earliest possible stage in litigation.” Hunter v. Bryant, 502 U.S. 224,
    227 (1991) (citations omitted). The court therefore rules first on the Immunity Motion and the
    Constitutional Motion—in which Defendant asserts “constitutional immunity from double
    jeopardy,” United States v. Scott, 464 F.2d 832, 833 (D.C. Cir. 1972).

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General,” “communications with state officials about the federal election and the exercise of

their official duties with respect to the election,” “communications with the Vice President and

Members of Congress about the exercise of their official duties in the election-certification

proceedings,” and “organizing slates of electors as part of the attempt to convince legislators not

to certify the election against defendant.” Immunity Motion at 3–8 (formatting modified).

Those generalized descriptions fail to properly portray the conduct with which he has been

charged. Accordingly, the court will briefly review the central allegations as set forth in the

Indictment.

       Defendant “was the forty-fifth President of the United States and a candidate for re-

election in 2020.” Indictment ¶ 1. “Despite having lost” that election, he “was determined to

remain in power,” so “for more than two months following election day on November 3, 2020,

the Defendant spread lies that there had been outcome-determinative fraud in the election and

that he had actually won.” Id. ¶ 2. He “knew that [those claims] were false,” but “repeatedly

and widely disseminated them anyway—to make his knowingly false claims appear legitimate,

create an intense national atmosphere of mistrust and anger, and erode public faith in the

administration of the election.” Id.; see id. ¶ 12 (listing six such claims). “In fact, the Defendant

was notified repeatedly that his claims were untrue—often by the people on whom he relied for

candid advice on important matters, and who were best positioned to know the facts and he

deliberately disregarded the truth.” Id. ¶ 11. Those people included the Vice President, “senior

leaders of the Justice Department,” the Director of National Intelligence, the Department of

Homeland Security’s Cybersecurity and Infrastructure Security Agency, “Senior White House

attorneys,” “Senior staffers on the Defendant’s 2020 re-election campaign,” state legislators and

officials, and state and federal judges. Id.



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           “Defendant also pursued unlawful means of discounting legitimate votes and subverting

the election results.” Id. ¶ 4. Specifically, he “targeted a bedrock function of the United States

federal government: the nation’s process of collecting, counting, and certifying the results of the

presidential election.” Id. The Indictment describes that process:

           The Constitution provided that individuals called electors select the president, and
           that each state determine for itself how to appoint the electors apportioned to it.
           Through state laws, each of the fifty states and the District of Columbia chose to
           select their electors based on the popular vote in the state. After election day, the
           [Electoral Count Act (“ECA”)] required each state to formally determine—or
           ‘ascertain’—the electors who would represent the state’s voters by casting electoral
           votes on behalf of the candidate who had won the popular vote, and required the
           executive of each state to certify to the federal government the identities of those
           electors. Then, on a date set by the ECA, each state’s ascertained electors were
           required to meet and collect the results of the presidential election—that is, to cast
           electoral votes based on their state’s popular vote, and to send their electoral votes,
           along with the state executive’s certification that they were the state’s legitimate
           electors, to the United States Congress to be counted and certified in an official
           proceeding. Finally, the Constitution and ECA required that on the sixth of January
           following election day, the Congress meet in a Joint Session for a certification
           proceeding, presided over by the Vice President as President of the Senate, to count
           the electoral votes, resolve any objections, and announce the result—thus certifying
           the winner of the presidential election as president-elect.

Id. ¶ 9.

           Defendant, along with at least six co-conspirators, id. ¶ 8, undertook efforts “to impair,

obstruct, and defeat [that process] through dishonesty, fraud, and deceit,” id. ¶ 10. Those efforts

took five alleged forms:

           First, they “used knowingly false claims of election fraud to get state legislators and

election officials to subvert the legitimate election results and change electoral votes for the

Defendant’s opponent, Joseph R. Biden, Jr., to electoral votes for the Defendant.” Id. ¶ 10(a).

“That is, on the pretext of baseless fraud claims, the Defendant pushed officials in certain states

to ignore the popular vote; disenfranchise millions of voters; dismiss legitimate electors; and


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ultimately, cause the ascertainment of and voting by illegitimate electors in favor of the

Defendant.” Id.; see id. ¶¶ 13–52.

       Second, they “organized fraudulent slates of electors in seven targeted states (Arizona,

Georgia, Michigan, Nevada, New Mexico, Pennsylvania, and Wisconsin), attempting to mimic

the procedures that the legitimate electors were supposed to follow under the Constitution and

other federal and state laws.” Id. ¶ 10(b). “This included causing the fraudulent electors to meet

on the day appointed by federal law on which legitimate electors were to gather and cast their

votes; cast fraudulent votes for the Defendant; and sign certificates falsely representing that they

were legitimate electors.” Id.; see id. ¶¶ 53–69. They “then caused these fraudulent electors to

transmit their false certificates to the Vice President and other government officials to be counted

at the certification proceeding on January 6,” 2021. Id. ¶ 10(b); see id. ¶¶ 53–69.

       Third, they “attempted to use the power and authority of the Justice Department to

conduct sham election crime investigations and to send a letter to the targeted states that falsely

claimed that the Justice Department had identified significant concerns that may have impacted

the election outcome; that sought to advance the Defendant’s fraudulent elector plan by using the

Justice Department’s authority to falsely present the fraudulent electors as a valid alternative to

the legitimate electors; and that urged, on behalf of the Justice Department, the targeted states’

legislatures to convene to create the opportunity to choose the fraudulent electors over the

legitimate electors.” Id. ¶ 10(c); see id. ¶¶ 70–85.

       Fourth, “using knowingly false claims of election fraud,” they “attempted to convince the

Vice President to use the Defendant’s fraudulent electors, reject legitimate electoral votes, or

send legitimate electoral votes to state legislatures for review rather than counting them.” Id.

¶ 10(d). “When that failed, on the morning of January 6,” they “repeated knowingly false claims



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of election fraud to gathered supporters, falsely told them that the Vice President had the

authority to and might alter the election results, and directed them to the Capitol to obstruct the

certification proceeding and exert pressure on the Vice President to take the fraudulent actions he

had previously refused.” Id.; see id. ¶¶ 86–105.

       Fifth, “on the afternoon of January 6,” once “a large and angry crowd—including many

individuals whom the Defendant had deceived into believing the Vice President could and might

change the election results—violently attacked the Capitol and halted the proceeding,” they

“exploited the disruption by redoubling efforts to levy false claims of election fraud and

convince members of Congress to further delay the certification based on those claims.” Id.

¶ 10(e); see id. ¶¶ 106–124.

       Based on this conduct, the Indictment charges Defendant with four counts: Conspiracy to

Defraud the United States, in violation of 18 U.S.C. § 371, id. ¶ 6; Conspiracy to Obstruct an

Official Proceeding, in violation of 18 U.S.C. § 1512(k), id. ¶ 126; Obstruction of, and Attempt

to Obstruct, an Official Proceeding, in violation of 18 U.S.C. §§ 1512(c)(2), 2, id. ¶ 128; and

Conspiracy Against Rights, in violation of 18 U.S.C. § 241, id. ¶ 130.

                                  II.     LEGAL STANDARD

       A criminal defendant may move to dismiss based on a “defect in the indictment,” such as

a “failure to state an offense.” Fed. R. Crim. P. 12(b)(3)(B)(v). That motion may be based—as

it is here—on constitutional challenges to the prosecution, including the assertion of immunity.

See, e.g., United States v. Stone, 394 F. Supp. 3d 1, 8 (D.D.C. 2019). “Because a court’s use of

its supervisory power to dismiss an indictment directly encroaches upon the fundamental role of

the grand jury, dismissal is granted only in unusual circumstances.” United States v. Fischer, 64

F.4th 329, 334–35 (D.C. Cir. 2023) (formatting modified).



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                               III.   EXECUTIVE IMMUNITY

       Defendant contends that the Constitution grants him “absolute immunity from criminal

prosecution for actions performed within the ‘outer perimeter’ of his official responsibility”

while he served as President of the United States, so long as he was not both impeached and

convicted for those actions. Immunity Motion at 8, 11–13 (formatting modified). The

Constitution’s text, structure, and history do not support that contention. No court—or any other

branch of government—has ever accepted it. And this court will not so hold. Whatever

immunities a sitting President may enjoy, the United States has only one Chief Executive at a

time, and that position does not confer a lifelong “get-out-of-jail-free” pass. Former Presidents

enjoy no special conditions on their federal criminal liability. Defendant may be subject to

federal investigation, indictment, prosecution, conviction, and punishment for any criminal acts

undertaken while in office.

A. Text

       In interpreting the Constitution, courts ordinarily “begin with its text,” City of Boerne v.

Flores, 521 U.S. 507, 519 (1997), but there is no provision in the Constitution conferring the

immunity that Defendant claims. The Supreme Court has already noted “the absence of explicit

constitutional . . . guidance” on whether a President possesses any immunity. Nixon v.

Fitzgerald, 457 U.S. 731, 747 (1982) (“Fitzgerald”); see also United States v. Nixon, 418 U.S.

683, 705–06 n.16 (1974) (“Nixon”) (observing “the silence of the Constitution” regarding a

President’s immunity from criminal subpoenas). The Executive Branch has likewise recognized

that “the Constitution provides no explicit immunity from criminal sanctions for any civil

officer,” including the current President. A Sitting President’s Amenability to Indictment and

Criminal Prosecution, 24 U.S. Op. Off. Legal Counsel 222, 2000 WL 33711291, at *9 (2000)

(“OLC Immunity Memo”) (quoting Memorandum for the United States Concerning the Vice
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President’s Claim of Constitutional Immunity at 4 (filed Oct. 5, 1973), In re Proceedings of the

Grand Jury Impaneled December 5, 1972: Application of Spiro T. Agnew, Vice President of the

United States (D. Md. 1973) (No. 73-965) (“1973 SG Memo”), available at 27 Hofstra L. Rev.

677, 775–97 (Appendix)) (alterations adopted). There is no “Presidential Immunity” Clause.

       The lack of constitutional text is no accident; the Framers explicitly created immunity for

other officials. The Constitution’s Speech and Debate Clause provides that “Senators and

Representatives . . . shall in all Cases, except Treason, Felony and Breach of the Peace, be

privileged from Arrest during their Attendance at the Session of their respective Houses, and in

going to and returning from the same; and for any Speech or Debate in either House, they shall

not be questioned in any other Place.” U.S. Const. art. I, § 6, cl. 1. And some Founding-Era

state constitutions, like those of Virginia and Delaware, unequivocally protected their Governor

from certain penal sanctions, at least until “he [was] out of office.” Saikrishna Bangalore

Prakash, Prosecuting and Punishing Our Presidents, 100 Tex. L. Rev. 55, 69 (2021) (quoting

Va. Const. of 1776, art. XVI); accord id. at 69–70 (quoting Del. Const. of 1776, art. XXIII). The

U.S. Constitution contains no equivalent protections for the President.

       Nor is the Constitution silent on the question because its drafters and ratifiers assumed

the President would enjoy the immunity Defendant claims. To the contrary, America’s founding

generation envisioned a Chief Executive wholly different from the unaccountable, almost

omnipotent rulers of other nations at that time. In Federalist No. 69—titled “The Real Character

of the Executive”—Alexander Hamilton emphasized the “total dissimilitude between [the

President] and the king of Great Britain,” the latter being “sacred and inviolable” in that “there is

no constitutional tribunal to which he is amenable; no punishment to which he can be subjected.”

The Federalist Papers by Alexander Hamilton, James Madison and John Jay 348–49 (Garry



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Wills ed. 1982). 2 Hamilton’s contemporary commentators universally affirmed the crucial

distinction that the President would at some point be subject to criminal process. See Prakash,

100 Tex. L. Rev. at 71–75 (collecting commentary); Response, Brian C. Kalt, Criminal Immunity

and Schrödinger’s President: A Response to Prosecuting and Punishing Our Presidents, 100 Tex.

L. Rev. Online 79, 83–85 (2021) (acknowledging Founding-Era consensus that Presidents would

lack absolute criminal immunity, but noting that most commentary was ambiguous about

whether prosecution could occur during Presidency, or only after). That widely acknowledged

contrast between the President and a king is even more compelling for a former President. The

Constitution’s silence on former Presidents’ criminal immunity thus does not reflect an

understanding that such immunity existed.

          Lacking an express constitutional provision, Defendant hangs his textual argument for

immunity on the Impeachment Judgment Clause, but it cannot bear the weight he places on it.

The Clause provides:

          Judgment in Cases of Impeachment shall not extend further than to removal from
          Office, and disqualification to hold and enjoy any Office of honor, Trust or Profit
          under the United States: but the Party convicted shall nevertheless be liable and
          subject to Indictment, Trial, Judgment and Punishment, according to Law.

U.S. Const. art. I, § 3, cl. 7. From this language, Defendant concludes “that the President may be

charged by indictment only in cases where the President has been impeached and convicted by

trial in the Senate.” Immunity Motion at 11. But Defendant is not President, and reading the

Clause to grant absolute criminal immunity to former Presidents would contravene its plain

meaning, original understanding, and common sense.




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    All subsequent citations to the Federalist Papers refer to this edition, and the Papers are also
    available online at https://avalon.law.yale.edu/subject_menus/fed.asp.

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        The Clause has two parts. The first limits the penalties of impeachment to removal and

disqualification from office. That limit marked a deliberate departure from the prevailing British

tradition, in which an impeachment conviction “might result in a wide array of criminal

penalties, including fines, imprisonment, and even execution.” Whether A Former President

May Be Indicted and Tried for the Same Offenses for Which He Was Impeached by the House

and Acquitted by the Senate, 24 U.S. Op. Off. Legal Counsel 110, 2000 WL 33711290, at *7

(2000) (“OLC Double Jeopardy Memo”) (citing 2 Joseph Story, Commentaries on the

Constitution of the United States 251–2 (1833; reprint 1994) (“Story’s Commentaries”); 2

Richard Wooddeson, A Systematical View of the Laws of England 611–14 (1792); Raoul Berger,

Impeachment: The Constitutional Problems 67 (1974)). The second part of the Clause provides,

however, that impeachment’s limits do not preclude “the Party convicted” from later criminal

prosecution in the courts—i.e., that “further punishment[] . . . would still be available but simply

not to the legislature.” Id. at *10.

        Both parts of the Clause undercut Defendant’s interpretation of it. The first begins by

defining the Clause’s scope: “Judgment in Cases of Impeachment,” indicating that the Clause is

aimed primarily at identifying the permissible penalties associated with impeachment itself. The

Clause’s second part confirms that purview. Rather than stating that “the Party convicted shall

only then be liable” to criminal prosecution, the Clause states that “the Party convicted shall

nevertheless be liable.” U.S. Const. art. I, § 3, cl. 7 (emphasis added). At the Founding, as now,

“nevertheless” meant “notwithstanding that,” and “notwithstanding that” meant “[w]ithout

hindrance or obstruction from.” Neverthele’ss, Samuel Johnson, A Dictionary Of The English

Language (1978) (4th ed. 1773), available at https://perma.cc/ST8E-RCMB; id.,

Notwithsta’nding, available at https://perma.cc/A9ML-QK4Y. In the Impeachment Judgment



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Clause, the word “nevertheless” in the second part thus signifies that the first part—constraining

impeachment’s penalties—does not bear on whether the Party would also be subject to criminal

prosecution. See OLC Immunity Memo at *2 (citing Amenability of the President, Vice

President and other Civil Officers to Federal Criminal Prosecution while in Office (1973)

(“1973 OLC Memo”), available at https://perma.cc/DM28-LHT9). As discussed at greater

length below, the Clause’s manifest purpose—and originally understood effect—was therefore

“to permit criminal prosecution in spite of the prior adjudication by the Senate, i.e., to forestall a

double jeopardy argument.” Id. (citation omitted); see infra Section V.B. That is quite different

from establishing impeachment and conviction as a prerequisite to a former President’s criminal

prosecution.

       The historical sources that Defendant cites do not move the needle. First, he quotes

Alexander Hamilton’s twin statements in The Federalist that the “President of the United States

would be liable to be impeached, tried, and, upon conviction of treason, bribery, or other high

crimes or misdemeanors, removed from office; and would afterwards be liable to prosecution

and punishment in the ordinary course of law,” Federalist No. 69 at 348, and that the President

would be “at all times liable to impeachment, trial, dismission from office, incapacity to serve in

any other, and to forfeiture of life and estate by subsequent prosecution in the common course of

law,” Federalist No. 77 at 392. Immunity Motion at 12. But those statements merely echo the

Clause’s clarification that prosecution may follow impeachment; they do not say that those

events must happen in that order. Second, Defendant cites Founding Father James Wilson’s

remark during the ratification debates that the President “is amenable to [the laws] in his private

character as a citizen, and in his public character by impeachment.” J. Elliot, Debates on The

Federal Constitution 480 (2d ed. 1863). But Wilson was describing a President in office, see id.,



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and that description is entirely consistent with a former President—having returned to life “as a

citizen”—being subject to criminal prosecution. There is no evidence that any of the

Constitution’s drafters or ratifiers intended or understood former Presidents to be criminally

immune unless they had been impeached and convicted, much less a widespread consensus that

the Impeachment Judgment Clause would have that effect.

       In addition to lacking textual or historical support, Defendant’s interpretation of the

Clause collapses under the application of common sense. For one, his reasoning is based on the

logical fallacy of “denying the antecedent.” See, e.g., New LifeCare Hosps. of N.C. LLC v. Azar,

466 F. Supp. 3d 124, 136 n.7 (D.D.C. 2020). From the statement “if the animal is a cat, it can be

a pet,” it does not follow that “if the animal is not a cat, it cannot be a pet.” Yet Defendant

argues that because a President who is impeached and convicted may be subject to criminal

prosecution, “a President who is not convicted may not be subject to criminal prosecution.”

Immunity Motion at 11. Even assuming that negative implication finds some traction when

applied to sitting Presidents, see, e.g., Trump v. Vance, 140 S. Ct. 2412, 2444–45 (2020) (Alito,

J., dissenting) (discussing that implication); but see OLC Immunity Memo at *2–3 (restating the

1973 OLC Memo’s rejection of the implication); see also infra Section V.B (discussing the

implication for double jeopardy purposes), the logic certainly does not hold for former

Presidents. That is because there is another way, besides impeachment and conviction, for a

President to be removed from office and thus subjected to “the ordinary course of law,”

Federalist No. 69 at 348: As in Defendant’s case, he may be voted out. The President “shall

hold his Office during the Term of four Years.” U.S. Const. art. II, § 1, cl. 1. Without

reelection, the expiration of that term ends a Presidency as surely as impeachment and

conviction. See United States v. Burr, 25 F. Cas. 30, 34 (C.C.D. Va. 1807) (Marshall, Circuit



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Justice) (“[T]he president is elected from the mass of the people, and, on the expiration of the

time for which he is elected, returns to the mass of the people again.”). Nothing in the

Impeachment Judgment Clause prevents criminal prosecution thereafter.

       Defendant’s reading of the Impeachment Judgment Clause also proves too much. If the

Clause required impeachment and conviction to precede criminal prosecution, then that

requirement would apply not only to the President, but also to the “Vice President and all civil

Officers of the United States”—who may likewise be impeached. U.S. Const. art. II, § 4. “The

constitutional practice since the Founding, however, has been to prosecute and even imprison

civil officers other than the President . . . prior to their impeachment.” OLC Immunity Memo at

*2 (citing 1973 OLC Memo at 4–7 (collecting sources)). For instance, then-Vice President

Aaron Burr was indicted without being impeached, see 1973 SG Memo at 12, and the same fate

might have befallen Vice President Spiro Agnew had he not resigned and entered a nolo

contendere plea, see United States v. Agnew, 428 F. Supp. 1293, 1293 (D. Md. 1977). Not only

would Defendant’s interpretation contradict that long-settled practice, it would also introduce

significant “complications into criminal proceedings” for all current and former federal officials,

including “threshold constitutional questions” of “whether the suspect is or was an officer of the

United States,” and “whether the offense is one for which he could be impeached.” OLC

Immunity Memo at *3 (citing 1973 OLC Memo at 7). The clash with historical practice and

difficulties in application that would flow from Defendant’s interpretation further confirm that it

cannot be the correct reading of the Clause.

       Finally, Defendant’s interpretation of the Impeachment Judgment Clause would produce

implausibly perverse results. The Constitution permits impeachment and conviction for a limited

category of offenses: “Treason, Bribery, or other high Crimes and Misdemeanors.” U.S. Const.



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art. II, § 4. Under Defendant’s reading, if a President commits a crime that does not fall within

that limited category, and so could not be impeached and convicted, the President could never be

prosecuted for that crime. Alternatively, if Congress does not have the opportunity to impeach

or convict a sitting President—perhaps because the crime occurred near the end of their term, or

is covered up until after the President has left office—the former President similarly could not be

prosecuted. Defendant seems to suggest that this scenario, in which the former President would

be utterly unaccountable for their crimes, is simply the price we pay for the separation of powers.

See Reply in Support of Immunity Motion, ECF No. 122, at 6 (quoting Morrison v. Olson, 487

U.S. 654, 710 (1988) (Scalia, J., dissenting) (“While the separation of powers may prevent us

from righting every wrong, it does so in order to ensure that we do not lose liberty.”)). 3 That

cannot be the Clause’s meaning. The constitutional limits on impeachment’s penalties do not

license a President’s criminal impunity.

         In sum, nothing in the Constitution’s text supplies the immunity that Defendant claims.

To be sure, “a specific textual basis has not been considered a prerequisite to the recognition of

immunity,” and so the inquiry is not confined to the express terms of our founding charter.

Fitzgerald, 457 U.S. at 750 n.31. But the lack of supporting constitutional text does mean that a

former President’s federal criminal immunity, if it exists, must arise entirely from “concerns of

public policy, especially as illuminated by our history and the structure of our government.” Id.

at 747–48. Defendant’s resort to those principles fares no better.



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    Even assuming that former as well as sitting Presidents may be impeached, this hypothetical
    would still produce problematic results. Congress could enable a former President’s criminal
    prosecution by impeaching them after they have left office. But it would raise serious
    separation of powers concerns to restrain the core executive act of prosecuting a private
    citizen—as a former President would then be—until Congress chose to do so. See infra
    Section III.B.2.

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B. Structure

       The Supreme Court has cautioned against forms of Presidential liability that “rise to the

level of constitutionally forbidden impairment of the Executive’s ability to perform its

constitutionally mandated functions.” Clinton v. Jones, 520 U.S. 681, 702 (1997). But the

prospect of federal criminal liability for a former President does not violate that structural

principle, either by imposing unacceptable risks of vexatious litigation or by otherwise chilling

the Executive’s decision-making process. Indeed, it is likely that a President who knows that

their actions may one day be held to criminal account will be motivated to take greater care that

the laws are faithfully executed. More fundamentally, federal criminal liability is essential to the

public’s interest in our “historic commitment to the rule of law . . . nowhere more profoundly

manifest than in our view that ‘the twofold aim of criminal justice is that guilt shall not escape or

innocence suffer.’” Nixon, 418 U.S. at 708–09 (quoting Berger v. United States, 295 U.S. 78, 88

(1935)) (formatting modified). The Presidency’s unique responsibilities do not exempt its

former occupants from that commitment.

       In Fitzgerald, the Supreme Court explained the structural analysis for Presidential

immunity. In that case, civil plaintiff A. Ernest Fitzgerald claimed that President Richard Nixon

had been involved in unlawfully firing him from his government job and sought money damages

against the former President. 457 U.S. at 733–41. The five-Justice majority noted it was “settled

law that the separation-of-powers doctrine does not bar every exercise of jurisdiction over the

President of the United States.” Id. at 753–54 (citations omitted). But it instructed that “a court,

before exercising jurisdiction, must balance the constitutional weight of the interest to be served

against the dangers of intrusion on the authority and functions of the Executive Branch.” Id. at

754 (citations omitted). “When judicial action is needed to serve broad public interests—as

when the Court acts, not in derogation of the separation of powers, but to maintain their proper
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balance, or to vindicate the public interest in an ongoing criminal prosecution—the exercise of

jurisdiction has been held warranted.” Id. (first citing Youngstown Sheet & Tube Co. v. Sawyer,

343 U.S. 579 (1952), then citing Nixon, 418 U.S. 731). Ultimately, the Court found that a

“merely private suit for damages based on a President’s official acts” did not serve those

interests, and held that a former President could remain immune from such suits. Id. For a

federal criminal prosecution, however, the analysis comes out the other way.

   1. Burdens on the Presidency
       At the outset, it bears noting that it is far less intrusive on the functions of the Executive

Branch to prosecute a former President than a sitting one. The Supreme Court has accepted at

least “the initial premise” that the President “occupies a unique office with powers and

responsibilities so vast and important that the public interest demands that he devote his

undivided time and attention to his public duties.” Clinton, 520 U.S. at 697–98. And the Office

of Legal Counsel has identified three burdens of criminal prosecution that could impede the

performance of that constitutional role:

       (a) the actual imposition of a criminal sentence of incarceration, which would make
       it physically impossible for the President to carry out his duties; (b) the public
       stigma and opprobrium occasioned by the initiation of criminal proceedings, which
       could compromise the President’s ability to fulfill his constitutionally contemplated
       leadership role with respect to foreign and domestic affairs; and (c) the mental and
       physical burdens of assisting in the preparation of a defense for the various stages
       of the criminal proceedings, which might severely hamper the President’s
       performance of his official duties.

OLC Immunity Memo at *19. But none of those burdens would result from the criminal

prosecution of a former President, who is no longer performing official duties. Accordingly, the

separation-of-powers concerns are significantly diminished in this context.

       Fitzgerald nonetheless suggested that the prospect of post-Presidency civil liability might

“distract a President from his public duties, to the detriment of not only the President and his

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office but also the Nation that the Presidency was designed to serve.” 457 U.S. at 753. The

Supreme Court highlighted two concerns: (1) the public interest in providing the President “the

maximum ability to deal fearlessly and impartially with the duties of his office,” and (2) the fact

that given the “visibility of his office and the effect of his actions on countless people, the

President would be an easily identifiable target for suits for civil damages.” Id. at 752–53

(quotation omitted). Defendant correspondingly focuses his arguments for immunity on (1) “the

chilling effect personal liability would have on the President’s decision-making,” and (2) the

“potential criminal prosecutions” former Presidents could face from “local, state, or subsequent

federal officials.” Immunity Motion at 9–10. He contends that “[c]ognizance of this personal

vulnerability frequently could distract a President from his public duties, to the detriment of not

only the President and his office but also the Nation that the Presidency was designed to serve.”

Id. at 10 (quoting Fitzgerald, 457 U.S. at 753).

       Those concerns do not carry the same weight in the context of a former President’s

federal criminal prosecution. First, the Supreme Court has largely rejected similar claims of a

“chilling effect” from the possibility of future criminal proceedings. During the Watergate

prosecution, President Nixon argued that if recordings of his conversations were subject to

criminal subpoena, the Presidential decision-making process would be compromised because his

staff would be less candid. Nixon, 418 U.S. at 705–06. The Court disagreed, stating that it

“cannot conclude that advisers will be moved to temper the candor of their remarks by the

infrequent occasions of disclosure because of the possibility that such conversations will be

called for in the context of a criminal prosecution.” Id. at 712. The Court quoted Justice

Cardozo’s unanimous opinion finding that a jury’s decision-making process would not be

meaningfully chilled if jurors’ conduct were later subject to criminal prosecution:



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       A juror of integrity and reasonable firmness will not fear to speak his mind if the
       confidences of debate are barred to the ears of mere impertinence of malice. He
       will not expect to be shielded against the disclosure of his conduct in the event that
       there is evidence reflecting upon his honor. The chance that now and then there
       may be found some timid soul who will take counsel of his fears and give way to
       their repressive power is too remote and shadowy to shape the course of justice.

Id. n.20 (quoting Clark v. United States, 289 U.S. 1, 16 (1933)).

       The same reasoning applies here. There is no doubt that “a President must concern

himself with matters likely to arouse the most intense feelings.” Fitzgerald, 457 U.S. at 752

(internal quotation marks omitted). But “[c]riminal conduct is not part of the necessary functions

performed by public officials.” United States v. Isaacs, 493 F.2d 1124, 1144 (7th Cir. 1974). By

definition, the President’s duty to “take Care that the Laws be faithfully executed” does not grant

special latitude to violate them. U.S. Const., art. II, § 3. That is especially true when the

violations require criminal intent, as is the case here, see Opp’n to Immunity Motion, ECF No.

109, at 31–32 (reviewing mens rea requirements for the Indictment’s four counts); cf. Imbler v.

Pachtman, 424 U.S. 409, 429 (1976) (noting that even public officials “cloaked with absolute

civil immunity . . . could be punished criminally” for their “willful acts”). Like his fellow

citizens serving on juries, then, a President “of integrity and reasonable firmness” will not fear to

carry out his lawful decision-making duties—even on hot-button political issues—and “will not

expect to be shielded against the disclosure of his conduct in the event that there is evidence

reflecting upon his honor.” Clark, 289 U.S. at 16. The rationale for immunizing a President’s

controversial decisions from civil liability does not extend to sheltering his criminality.

       Indeed, the possibility of future criminal liability might encourage the kind of sober

reflection that would reinforce rather than defeat important constitutional values. If the specter

of subsequent prosecution encourages a sitting President to reconsider before deciding to act

with criminal intent, that is a benefit, not a defect. “Where an official could be expected to know

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that certain conduct would violate statutory or constitutional rights, he should be made to

hesitate.” Harlow v. Fitzgerald, 457 U.S. 800, 819 (1982). Consequently, to the extent that

there are any cognizable “chilling effects” on Presidential decision-making from the prospect of

criminal liability, they raise far lesser concerns than those discussed in the civil context of

Fitzgerald. Every President will face difficult decisions; whether to intentionally commit a

federal crime should not be one of them.

        Second, the possibility of vexatious post-Presidency litigation is much reduced in the

criminal context. Defendant protests that denying him immunity would subject future Presidents

to “prosecution in countless federal, state, and local jurisdictions across the country,” Immunity

Motion at 10, but that is incorrect. To begin, Defendant is only charged with federal crimes in

this case, so any ruling here will be limited to that context and would not extend to state or local

prosecutions—which in any event might run afoul of the Supremacy Clause, see Vance, 140

S. Ct. at 2428 (“The Supremacy Clause prohibits state judges and prosecutors from interfering

with a President’s official duties. . . . Any effort to manipulate a President's policy decisions or to

‘retaliat[e]’ against a President for official acts . . . would thus be an unconstitutional attempt to

‘influence’ a superior sovereign ‘exempt’ from such obstacles.” (citations omitted)). And as

Defendant well knows, see infra Section V.A, a person cannot “be subject for the same offence

to be twice put in jeopardy of life or limb,” U.S. Const., amend. V. Consequently, denying

Defendant immunity here means only that a former President may face one federal prosecution,

in one jurisdiction, for each criminal offense allegedly committed while in office. That

consequence stands in contrast to the civil context, where “the effect of [the President’s] actions

on countless people” could result in untold numbers of private plaintiffs suing for damages based

on any number of Presidential acts. Fitzgerald, 457 U.S. at 753.



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       Defendant also warns that if he is not given immunity here, criminal prosecutions will

“bedevil[] every future Presidential administration and usher[] in a new era of political

recrimination and division.” Immunity Motion at 11. But, as the Supreme Court noted when

faced with a similar argument in Clinton, that “predictive judgment finds little support in either

history or the relatively narrow compass of the issues raised in this particular case.” 520 U.S. at

702. As Defendant acknowledges, he is the only former President in United States history to

face criminal charges for acts committed while in office. See Immunity Motion at 15. “If the

past is any indicator, it seems unlikely that a deluge of such litigation will ever engulf the

Presidency.” Clinton, 520 U.S. at 702. Despite Defendant’s doomsaying, he points to no

evidence that his criminal liability in this case will open the gates to a waiting flood of future

federal prosecutions.

       The robust procedural safeguards attendant to federal criminal prosecutions further

reduce the likelihood that former Presidents will be unjustly harassed. Prosecutors themselves

are constitutionally bound to not abuse their office, which is why “courts presume that they have

properly discharged their official duties.” United States v. Armstrong, 517 U.S. 456, 464 (1996)

(quoting United States v. Chem. Found., Inc., 272 U.S. 1, 14–15 (1926)). And a federal

indictment is issued by a grand jury, which is similarly “prohibited from engaging in ‘arbitrary

fishing expeditions’ and initiating investigations ‘out of malice or an intent to harass.’” Vance,

140 S. Ct. at 2428 (quoting United States v. R. Enters., Inc., 498 U.S. 292, 299 (1991)). Even

after indictment, “in the event of such harassment, a [former] President would be entitled to the

protection of federal courts,” which “have the tools to deter and, where necessary, dismiss”

vexatious prosecutions. Id. For instance, if a prosecution is politically motivated, as Defendant

has argued in this case, that alone may warrant dismissal. See Motion to Dismiss Case for



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Selective and Vindictive Prosecution, ECF No. 116. And if a meritless prosecution somehow

reached trial, a former President would still have the opportunity to put the government’s proof

to the test. See U.S. Const., art. III, § 2, cl. 3.

        In short, the concerns discussed in the civil context of Fitzgerald find no meaningful

purchase here. A former President accused of committing a crime while in office will be subject

to only one federal prosecution for that offense, which in turn will only result in conviction if the

grand jury finds probable cause and the prosecutor, judge, and all twelve petit jurors agree that

the charges are legitimate and have been proven beyond a reasonable doubt. Throughout that

process, a former President “may avail himself of the same protections available to every other

citizen.” Vance, 140 S. Ct. at 2430. In the rare case when a former President must do so, the

Constitution does not proffer the sledgehammer of absolute immunity where the scalpel of

procedural protections will suffice. See Burr, 25 F. Cas. at 34 (“The guard, furnished to this high

officer [the President], to protect him from being harassed by vexatious and unnecessary

subpoenas, is to be looked for in the conduct of a court after those subpoenas have issued; not in

any circumstance which is to [] precede their being issued.”). The possibility of future harassing

federal criminal prosecution will not cast so “serious” a shadow on the Presidency that its current

occupant cannot fulfill its duties. Clinton, 520 U.S. at 708.

    2. Public interest
        On the other of side of the scale, the public interest in the prosecution of this case carries

grave weight. The Supreme Court has repeatedly underscored its judgment that “the public

interest in fair and accurate judicial proceedings is at its height in the criminal setting.” Vance,

140 S. Ct. at 2424. It has correspondingly refused to permit other concerns, including those

asserted by Presidents, to “prevail over the fundamental demands of due process of law in the

fair administration of criminal justice.” Nixon, 418 U.S. at 713; see United States v. Gillock, 445

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U.S. 360, 373 (1980) (concluding that “principles of comity” must yield “where important

federal interests are at stake, as in the enforcement of federal criminal statutes”). Despite their

other vehement disagreements in Fitzgerald, all nine Justices unanimously endorsed that

judgment with respect to former Presidents. Justice Powell’s majority opinion specifically

contrasted the “lesser public interest in actions for civil damages than . . . in criminal

prosecutions.” 457 at 754 n.37. Chief Justice Burger’s concurrence made the same distinction.

Id. at 759–60 (distinguishing immunity “limited to civil damages claims” from “a criminal

prosecution,” as in Burr or Nixon (emphasis in original)). And Justice White’s four-member

dissent stressed that no party had argued “that the President is immune from criminal prosecution

in the courts[,] . . . [n]or would such a claim be credible.” Id. at 780. Fitzgerald was thus

undivided in contemplating that the public interest could require a former President’s criminal

liability.

        Defendant resists that consensus in Fitzgerald by pointing to a single passage in the

majority opinion where, in listing the “formal and informal checks” that could replace civil

liability as a deterrent for Presidential misconduct, the Court did not specifically list criminal

liability. Id. at 757. From that omission, Defendant infers that the Court intended to suggest that

criminal liability would not be available either. Immunity Motion at 13. But the Court’s

unanimous emphasis that it was not immunizing former Presidents from federal criminal liability

squarely refutes that inference. If anything, the omission underscores that civil and criminal

liability are so fundamentally distinct that they cannot be understood as substitutes for one

another. Accordingly, in the parallel context of cases “which have recognized an immunity from

civil suit for state officials,” the Supreme Court has explicitly “presumed the existence of federal




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criminal liability as a restraining factor on the conduct of state officials.” Gillock, 445 U.S.

at 372.

          It is no surprise that the Supreme Court has long recognized the special public interest in

criminal law because of its distinctly communal character; that character is reflected in both the

Constitution itself and the legal tradition from which it arose. Unlike defendants in a civil

matter, for example, federal criminal defendants are constitutionally guaranteed “a speedy and

public trial” before a jury drawn from their community. U.S. Const., amend VI; id., art. III, § 2,

cl. 3. And the preeminent 18th-century legal commentator William Blackstone explained the

reason for the community’s special involvement in criminal cases: Whereas civil injuries “are an

infringement or privation of the civil rights which belong to individuals, considered merely as

individuals,” crimes “are a breach and violation of the public rights and duties due to the whole

community, considered as a community.” 4 William Blackstone, Commentaries *5. The

fundamentally public interest in a criminal prosecution explains why it “may proceed without the

consent of the victim and why it is brought in the name of the sovereign rather than the person

immediately injured by the wrong.” OLC Immunity Memo at *22. Put differently, the very

name of this case confirms the public’s particular stake in its adjudication: it is the United States

of America v. Donald J. Trump.

          Congress has also affirmed the special public interests in enforcing the criminal law. In

the Sentencing Reform Act of 1984, it required every federal court to consider certain factors in

imposing sentence, and declared “the need for the sentence imposed”:

          (A) to reflect the seriousness of the offense, to promote respect for the law, and to
          provide just punishment for the offense;

          (B) to afford adequate deterrence to criminal conduct;

          (C) to protect the public from further crimes of the defendant; and

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        (D) to provide the defendant with needed educational or vocational training,
        medical care, or other correctional treatment in the most effective manner.

18 U.S.C. § 3553(a)(2); see Pub. L. 98-473, title II, § 212(a)(2) (1984). The public has an

undisputed interest in promoting respect for the law, deterring crime, protecting itself, and

rehabilitating offenders. All of those interests would be thwarted by granting former Presidents

absolute criminal immunity.

        The fact that Congress has spoken by criminalizing the conduct with which Defendant is

charged also highlights the separation of powers principles that counsel in favor of the court

retaining jurisdiction over this case. “When the President takes measures incompatible with the

expressed or implied will of Congress, his power is at its lowest ebb.” Youngstown, 343 U.S. at

637 (Jackson, J., concurring). Congress could have penalized the conduct alleged in this case—

if it chose to penalize it at all—with mere civil liability, perhaps allowing for monetary damages

should a private plaintiff choose to bring suit. Instead, it expressed a far stronger condemnation

by subjecting that conduct to the severe consequences of the criminal law. “Whatever may be

the case with respect to civil liability” for former Presidents, then, “the judicially fashioned

doctrine of official immunity does not reach ‘so far as to immunize criminal conduct proscribed

by an Act of Congress.’” O’Shea v. Littleton, 414 U.S. 488, 503 (1974) (quoting Gravel v.

United States, 408 U.S. 606, 627 (1972)). Indeed, stretching the doctrine so far would also

“imped[e] . . . the primary constitutional duty of the Judicial Branch to do justice in criminal

prosecutions,” Nixon, 418 U.S. at 707, not to mention the current President’s duty to enforce the

criminal law, see U.S. Const., art. II, § 3. Holding a former President absolutely immune would

thus impinge on the functions of all three branches with respect to the criminal law: Congress’s

province to make it, the Executive’s prerogative to enforce it, and the Judiciary’s charge to

apply it.

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        Most importantly, a former President’s exposure to federal criminal liability is essential

to fulfilling our constitutional promise of equal justice under the law. “The government of the

United States has been emphatically termed a government of laws, and not of men.” Marbury v.

Madison, 5 U.S. 137, 163 (1803). As the Supreme Court has stated, that principle must govern

citizens and officials alike:

        No officer of the law may set that law at defiance with impunity. All the officers
        of the government, from the highest to the lowest, are creatures of the law, and are
        bound to obey it. It is the only supreme power in our system of government, and
        every man who by accepting office participates in its functions is only the more
        strongly bound to submit to that supremacy, and to observe the limitations which it
        imposes upon the exercise of the authority which it gives.

United States v. Lee, 106 U.S. 196, 220 (1882).

        Perhaps no one understood the compelling public interest in the rule of law better than

our first former President, George Washington. His decision to voluntarily leave office after two

terms marked an extraordinary divergence from nearly every world leader who had preceded

him, ushering in the sacred American tradition of peacefully transitioning Presidential power—a

tradition that stood unbroken until January 6, 2021. In announcing that decision, however,

Washington counseled that the newfound American independence carried with it a responsibility.

“The very idea of the power and the right of the people to establish government presupposes the

duty of every individual to obey the established government.” Washington’s Farewell Address,

S. Doc. No. 106-21, at 13 (2d Sess. 2000), available at https://perma.cc/E5CZ-7NNP. He issued

a sober warning: “All obstructions to the execution of the laws,” including group arrangements

to “counteract” the “regular deliberation and action of the constituted authorities, are destructive

of this fundamental principle.” Id. at 14. In Washington’s view, such obstructions would prove

“fatal” to the Republic, as “cunning, ambitious, and unprincipled men will be enabled to subvert



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the power of the people and to usurp for themselves the reins of government, destroying

afterwards the very engines which have lifted them to unjust dominion.” Id.

       In this case, Defendant is charged with attempting to usurp the reins of government as

Washington forewarned: The Government alleges that, with the help of political associates, he

“spread lies that there had been outcome-determinative fraud in the election and that he had

actually won,” and “pursued unlawful means of discounting legitimate votes and subverting the

election results,” all because he “was determined to remain in power.” Indictment ¶¶ 2, 4. In

asserting absolute executive immunity, Defendant asks not for an opportunity to disprove those

allegations, but for a categorical exemption from criminal liability because, in his view, “the

indictment is based solely on President Trump’s official acts.” Immunity Motion at 27–28. That

obstruction to the execution of the laws would betray the public interest. “If one man can be

allowed to determine for himself what is law, every man can. That means first chaos, then

tyranny.” United States v. United Mine Workers of Am., 330 U.S. 258, 312 (1947) (Frankfurter,

J., concurring in the judgment).

       For all these reasons, the constitutional consequences of federal criminal liability differ

sharply from those of the civil liability at issue in Fitzgerald. Federal criminal liability will not

impermissibly chill the decision-making of a dutiful Chief Executive or subject them to endless

post-Presidency litigation. It will, however, uphold the vital constitutional values that Fitzgerald

identified as warranting the exercise of jurisdiction: maintaining the separation of powers and

vindicating “the public interest in an ongoing criminal prosecution.” 457 U.S. at 753–54.

Exempting former Presidents from the ordinary operation of the criminal justice system, on the

other hand, would undermine the foundation of the rule of law that our first former President

described: “Respect for its authority, compliance with its laws, [and] acquiescence in its



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measures”—“duties enjoined by the fundamental maxims of true liberty.” Washington’s

Farewell Address at 13. Consequently, the constitutional structure of our government does not

require absolute federal criminal immunity for former Presidents.

C. History

       Nothing in American history justifies the absolute immunity Defendant seeks. As

discussed above, supra Section III.A, there is no evidence that the Founders understood the

Constitution to grant it, and since that time the Supreme Court “has never suggested that the

policy considerations which compel civil immunity for certain governmental officials also place

them beyond the reach of the criminal law.” Imbler, 424 U.S. at 429. Moreover, the notion that

former Presidents cannot face federal criminal charges for acts they took in office is refuted by

the “presuppositions of our political history.” Fitzgerald, 457 U.S. at 745 (quoting Tenney v.

Brandhove, 341 U.S. 367, 376 (1951)).

       Start with the Executive Branch itself. “In the performance of assigned constitutional

duties each branch of the Government must initially interpret the Constitution, and the

interpretation of its powers by any branch is due great respect from the others.” Nixon, 418 U.S.

at 703. The Executive’s legal representatives—the Solicitor General and Office of Legal

Counsel—have expressly and repeatedly concluded that a former President may “be subject to

criminal process . . . after he leaves office or is removed therefrom through the impeachment

process.” OLC Immunity Memo at *12 (citing 1973 OLC Memo and 1973 SG Memo).

Naturally, the Special Counsel’s decision to bring this case also reflects that judgment,

distinguishing the Department of Justice’s position that former Presidents retain civil immunity.

See Brief for the United States as Amicus Curiae at 3 n.1 (filed Mar. 2, 2023), Blassingame v.

Trump, Nos. 22-5069, 22-7030, 22-7031 (D.C. Cir.). Even on its own, the Executive’s



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longstanding and unwavering position on this issue weighs against this court unilaterally

blocking a considered prosecution by conferring absolute immunity. 4

          Historical practice also indicates that a President’s actions may later be criminally

prosecuted. In the aftermath of Watergate, for example, President Ford granted former President

Nixon “full, free, and absolute pardon . . . for all offenses against the United States which he,

Richard Nixon, has committed or may have committed or taken part in during” while in office.

Gerald Ford, Presidential Statement at 7–8 (Sept. 8, 1974), available at https://perma.cc/2GNZ-

QQ3D. In so doing, President Ford specifically noted the “serious allegations” that, without a

pardon, would “hang like a sword over our former President’s head” until he could “obtain a fair

trial by jury.” Id. at 3; see id. at 4–5 (expressing concern about Nixon’s rights to a presumption

of innocence and a speedy trial). And former President Nixon formally accepted that “full and

absolute pardon for any charges which might be brought against me for actions taken during the

time I was President of the United States,” calling the pardon a “compassionate act.” Richard

Nixon, Statement by Former President Richard Nixon at 1 (Sept. 8, 1974), available at

https://perma.cc/WV43-6E69. Both Ford’s pardon and Nixon’s acceptance arose from the desire

to prevent the former President’s potential criminal prosecution, and both specifically refer to

that possibility—without which the pardon would have been largely unnecessary. Defendant’s

view of his own immunity thus stands at odds with that of his predecessors in the Oval Office.


4
    Congress, the other political branch, has not spoken directly to this issue. But it has not
    exempted actions taken during the Presidency from the criminal law, and “[u]nder the authority
    of Art. II, § 2,” it “has vested in the Attorney General the power to conduct the criminal
    litigation of the United States Government” and “to appoint subordinate officers to assist him,”
    which he has done “in th[is] particular matter[]” by appointing “a Special Prosecutor.” Nixon,
    418 U.S. at 694. The Government also notes the statements of individual members of
    Congress—including some who voted to acquit Defendant during his impeachment trial—
    anticipating that Defendant could later be criminally prosecuted for the conduct at issue. See
    Opp’n to Immunity Motion at 14–15.

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       Granting the immunity Defendant seeks would also break with longstanding legal

precedent that all government officials—even those immune from civil claims—may be held to

criminal account. In Fitzgerald, for instance, the Supreme Court analogized former President

Nixon’s civil immunity to the similar protections provided to judges and prosecutors. 457 U.S.

at 745–48. Unlike most government officials, who only receive “qualified” civil immunity,

prosecutors and judges have absolute civil immunity due to “the especially sensitive duties” of

their office and the public interest in their “liberty to exercise their functions with independence

and without fear of consequences.” Id. at 745–46 (quotation omitted); see, e.g., Imbler, 424 U.S.

at 431 (state prosecutors possess absolute civil immunity for prosecutions); Stump v. Sparkman,

435 U.S. 349, 359–60 (1978) (state judges possess absolute civil immunity for judicial acts). But

notwithstanding their absolute civil immunity, prosecutors and judges are “subject to criminal

prosecutions as are other citizens.” Dennis v. Sparks, 449 U.S. 24, 31 (1980); see Imbler, 424

U.S. at 429. Thus, while in Fitzgerald the “careful analogy to the common law absolute

immunity of judges and prosecutors” demonstrated history’s support for the former President’s

civil immunity, Vance, 140 S. Ct. at 2426, here that same history compels the denial of a former

President’s criminal immunity.

       Against the weight of that history, Defendant argues in essence that because no other

former Presidents have been criminally prosecuted, it would be unconstitutional to start now.

Immunity Motion at 15–16. But while a former President’s prosecution is unprecedented, so too

are the allegations that a President committed the crimes with which Defendant is charged. See

infra Section VI.B. The Supreme Court has never immunized Presidents—much less former

Presidents—from judicial process merely because it was the first time that process had been




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necessary. See, e.g., Vance, 140 S. Ct. at 2424–25; Clinton, 520 U.S. at 692; Nixon, 418 U.S. at

703; Burr, 25 F. Cas. at 32. The court will not do so here.

       In any event, Defendant’s reasoning turns the relevant historical analysis on its head. In

Clinton, the President likewise argued that the relative dearth of cases in which “sitting

Presidents ha[d] been defendants in civil litigation involving their actions prior to taking office”

meant that the Constitution afforded him temporary immunity for such claims. 520 U.S. at 692;

see Brief for the Petitioner, 1996 WL 448096, at *17–18, Clinton v. Jones, No. 95-1853 (U.S.).

The Court found instead that the dearth of similar cases meant that there was no “basis of

precedent” for the immunity that President Clinton sought—and in fact showed that there was

little risk of such litigation impeding the Presidency going forward. Clinton, 520 U.S. at 692,

702. In other words, a defendant cannot claim that history supports their immunity by pointing

to the fact that their immunity has never been asserted. Here, as in Clinton, that absence of

precedent negates rather than validates Defendant’s argument that history establishes his

immunity from criminal prosecution.

                                          *       *       *

       For these reasons, the court cannot conclude that our Constitution cloaks former

Presidents with absolute immunity for any federal crimes they committed while in office. Our

nation’s “historic commitment to the rule of law” is “nowhere more profoundly manifest than in

our view that ‘the twofold aim of criminal justice is that guilt shall not escape or innocence

suffer.’” Nixon, 418 U.S. at 708–09 (quoting Berger, 295 U.S. at 88) (formatting modified).

Nothing in the Constitution’s text or allocation of government powers requires exempting former

Presidents from that solemn process. And neither the People who adopted the Constitution nor

those who have safeguarded it across generations have ever understood it to do so. Defendant’s



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four-year service as Commander in Chief did not bestow on him the divine right of kings to

evade the criminal accountability that governs his fellow citizens. “No man in this country,” not

even the former President, “is so high that he is above the law.” Lee, 106 U.S. at 220.

          Consistent with its duty to not “decide questions of a constitutional nature unless

absolutely necessary to a decision,” Clinton, 520 U.S. at 690 & n.11 (quoting Burton v. United

States, 196 U.S. 283, 295 (1905)), the court emphasizes the limits of its holding here. It does not

decide whether former Presidents retain absolute criminal immunity from non-federal

prosecutions, or whether sitting Presidents are entitled to greater immunity than former ones.

Similarly, the court expresses no opinion on the additional constitutional questions attendant to

Defendant’s assertion that former Presidents retain absolute criminal immunity for acts “within

the outer perimeter of the President’s official” responsibility. Immunity Motion at 21

(formatting modified). Even if the court were to accept that assertion, it could not grant

Defendant immunity here without resolving several separate and disputed constitutional

questions of first impression, including: whether the President’s duty to “take Care that the Laws

be faithfully executed” includes within its “outer perimeter” at least five different forms of

indicted conduct; 5 whether inquiring into the President’s purpose for undertaking each form of

that allegedly criminal conduct is constitutionally permissible in an immunity analysis, and

whether any Presidential conduct “intertwined” with otherwise constitutionally immune actions



5
    As another court in this district observed in a decision regarding Defendant’s civil immunity,
    “[t]his is not an easy issue. It is one that implicates fundamental norms of separation of powers
    and calls on the court to assess the limits of a President’s functions. And, historical examples
    to serve as guideposts are few.” Thompson v. Trump, 590 F. Supp. 3d 46, 74 (D.D.C. 2022);
    see id. at 81–84 (performing that constitutional analysis). The D.C. Circuit recently affirmed
    that district court’s decision with an extensive analysis of just one form of conduct—“speech
    on matters of public concern.” Blassingame v. Trump, Nos. 22-5069, 22-7030, 22-7031, slip
    op. at 23–42 (D.C. Cir. Dec. 1, 2023).

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also receives criminal immunity. See id. at 21–45. Because it concludes that former Presidents

do not possess absolute federal criminal immunity for any acts committed while in office,

however, the court need not reach those additional constitutional issues, and it expresses no

opinion on them.

                                 IV.     FIRST AMENDMENT

       In his Constitutional Motion, Defendant first argues that the Indictment should be

dismissed because it criminalizes his speech and therefore violates the First Amendment. But it

is well established that the First Amendment does not protect speech that is used as an instrument

of a crime, and consequently the Indictment—which charges Defendant with, among other

things, making statements in furtherance of a crime—does not violate Defendant’s First

Amendment rights.

A. The First Amendment and criminal prosecutions

       The First Amendment provides, in relevant part, that “Congress shall make no law . . .

abridging the freedom of speech.” U.S. Const. amend. I. Generally, “the First Amendment

means that government has no power to restrict expression because of its message, its ideas, its

subject matter, or its content.” United States v. Stevens, 559 U.S. 460, 468 (2010) (quoting

Ashcroft v. Am. Civ. Liberties Union, 535 U.S. 564, 573 (2002)). In restricting the government’s

power to control speech, the First Amendment “embodies ‘our profound national commitment to

the free exchange of ideas.’” Ashcroft, 535 U.S. at 573 (citation omitted).

       The right to freedom of speech is “not absolute,” however. Id. It is fundamental First

Amendment jurisprudence that prohibiting and punishing speech “integral to criminal conduct”

does not “raise any Constitutional problem.” Stevens, 559 U.S. at 468–69 (citation omitted);

accord Giboney v. Empire Storage & Ice Co., 336 U.S. 490, 498–502 (1949). “Many long

established” criminal laws permissibly “criminalize speech . . . that is intended to induce or
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commence illegal activities,” United States v. Williams, 553 U.S. 285, 298 (2008), such as fraud,

bribery, perjury, extortion, threats, incitement, solicitation, and blackmail, see, e.g., Stevens, 559

U.S. at 468–69 (fraud); Williams, 553 U.S. at 298 (incitement, solicitation); Citizens United v.

Fed. Election Comm’n, 558 U.S. 310, 356 (2010) (bribery); Rice v. Paladin Enters., Inc., 128

F.3d 233, 244 (4th Cir. 1997) (extortion, threats, blackmail, perjury). Prosecutions for

conspiring, directing, and aiding and abetting do not run afoul of the Constitution when those

offenses are “carried out through speech.” Nat’l Org. for Women v. Operation Rescue, 37 F.3d

646, 655–56 (D.C. Cir. 1994) (directing and aiding and abetting); see Williams, 553 U.S. at 298

(conspiring).

B. The Indictment does not violate the First Amendment

       The Indictment alleges that Defendant used specific statements as instruments of the

criminal offenses with which he is charged: conspiring to fraudulently obstruct the federal

function for collecting, counting, and certifying the results of the Presidential election, in

violation of 18 U.S.C. § 371 (Count I); corruptly obstructing and conspiring to obstruct

Congress’s certification of the election results, in violation of 18 U.S.C. §§ 1512(c)(2) and (k)

(Counts II and III); and conspiring to deprive citizens of their constitutional right to have their

votes counted, in violation of 18 U.S.C § 241 (Count IV). See Indictment ¶¶ 5–130.

       That Defendant’s alleged criminal conduct involved speech does not render the

Indictment unconstitutional. The Indictment notes that “Defendant had a right, like every

American, to speak publicly about the election and even to claim, falsely, that there had been

outcome-determinative fraud during the election and that he had won.” Id. ¶ 3. And it

enumerates Defendant’s specific statements only to support the allegations that Defendant joined

conspiracies and attempted to obstruct the election certification, such as the allegations that

Defendant knowingly made false claims about the election results, id. ¶¶ 11–12, and deceived
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state officials to subvert the election results, id. ¶ 13–52. See, e.g., id. ¶¶ 12, 19, 22, 31–35, 37,

41, 46, 50, 52 (referencing Defendant’s statements). The Indictment therefore properly alleges

Defendant’s statements were made in furtherance of a criminal scheme.

        Defendant argues that the Indictment violates the First Amendment for three primary

reasons: (1) the government may not prohibit Defendant’s core political speech on matters of

public concern, Constitutional Motion at 4–11; (2) “First Amendment protection . . . extends to

statements advocating the government to act,” id. at 12–14 (formatting modified); and

(3) Defendant reasonably believed that the 2020 Presidential Election was stolen, id. at 15–17.

    1. Core political speech on matters of public concern
        Defendant first claims that his statements disputing the outcome of the 2020 election is

“core political speech” that addresses a “matter[] of public concern.” Id. at 8–10. Even

assuming that is true, “core political speech” addressing “matters of public concern” is not

“immunized from prosecution” if it is used to further criminal activity. United States v. Rahman,

189 F.3d 88, 117 (2d Cir. 1999); see Stevens, 559 U.S. at 468–69. That is the case even though

Defendant was the President at the time. See Blassingame v. Trump, Nos. 22-5069, 22-7030, 22-

7031, slip op. at 50 (D.C. Cir. Dec. 1, 2023) (Defendant is not entitled to immunity when he

“engages in speech” that “removes him[] from the First Amendment’s protections.”). As the

D.C. Circuit has recognized, “an immunity for all presidential speech on matters of public

concern …. is ‘unsupported by precedent.’” Id. at 27 (quoting Clinton, 520 U.S. at 695).

        In support of his argument, Defendant first invokes various Justices’ opinions in United

States v. Alvarez, 567 U.S. 709 (2012). Constitutional Motion at 4–7. There was no majority

opinion in Alvarez; a majority of the Justices agreed only that the Stolen Valor Act, which

prohibits an individual from falsely representing that they have received “any decoration or

medal authorized by Congress for the Armed Forces of the United States,” violated the First

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Amendment. 567 U.S. at 716, 729–30 (plurality opinion) (Kennedy, J., joined by Roberts. C.J.,

Ginsburg, J., and Sotomayor, J.); id. at 730 (Breyer, J. concurring in the judgment, joined by

Kagan, J.). One theme common to both the plurality and concurring opinions, however, was the

concern that the Stolen Valor Act prohibited only false statements and only because of their

falsity. See id. at 717–22 (plurality opinion); id. at 732 (Breyer, J. concurring). Indeed, each

opinion reiterated that laws “implicat[ing] fraud or speech integral to criminal conduct” are

constitutional. Id. at 721 (plurality opinion); accord id. at 734–36 (Breyer, J., concurring in the

judgment); id. at 747 (Alito, J., dissenting). Because it confirmed that speech involved in the

commission of a crime was not protected by the First Amendment, Alvarez did not undermine

settled precedent allowing the prosecution of speech in furtherance of criminal activity.

       Second, Defendant contends that “attempts to prohibit or criminalize claims on political

disputes” constitute viewpoint discrimination. Constitutional Motion at 9–10. But Defendant is

not being prosecuted for his “view” on a political dispute; he is being prosecuted for acts

constituting criminal conspiracy and obstruction of the electoral process. Supra Section I. And

any political motives Defendant may have had in doing so do not insulate his conduct from

prosecution. E.g., Rahman, 189 F.3d at 116–17 (mixed motives do not insulate speech from

prosecution); see Gov.’s Omnibus Opp’n to Def.’s Motions to Dismiss the Indictment on

Statutory and Constitutional Grounds, ECF No. 139 at 33 (Opp’n to Constitutional Motion)

(collecting other Circuit cases). The Indictment does not unconstitutionally discriminate against

Defendant based on viewpoint.

       Third, Defendant argues that even if a higher level of scrutiny does not apply to the

Indictment, it nonetheless is invalid “under any level of scrutiny” because it is “tailored to violate

free-speech rights.” Constitutional Motion at 11. Here, however, there is no level of scrutiny



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that applies, because speech in furtherance of criminal conduct does not receive any First

Amendment protection. E.g., Stevens, 559 U.S. at 468–69. Moreover, Defendant cites no

support for his argument that the Indictment is “tailored to violate free-speech rights,” nor does

he explain how the Indictment is so tailored. See Constitutional Motion at 11 (emphasis added).

        Finally, Defendant argues that the Indictment violates the First Amendment because “all

the charged conduct constitutes First Amendment protected speech.” Def.’s Reply in Support of

Motion to Dismiss Based on Constitutional Grounds, ECF No. 162 at 7–8 (“Constitutional

Reply”) (emphasis in original). He contends that to qualify as speech in furtherance of criminal

conduct, “the speech in question must ‘be integral to’ some criminal ‘conduct’ that is not itself a

form of First Amendment-protected speech or expression.” Id. (emphasis added). But again, the

Indictment does not need to list other kinds of criminal conduct in addition to speech to comply

with the First Amendment; the crimes Defendant is charged with violating may be carried out

through speech alone. See Nat’l Org. for Women, 37 F.3d at 656; supra Section IV.A.

    2. Statements advocating government action
        Defendant next claims the First Amendment protects “statements advocating the

government to act.” Constitutional Motion at 12–14 (formatting modified). He first contends

the Petition Clause of the First Amendment provides an absolute right to make statements

encouraging the government to act in a public forum, citing McDonald v. Smith, 472 U.S. 479

(1985). Constitutional Motion at 12–13. The Petition Clause provides that “Congress shall

make no law . . . abridging . . . the right of the people . . . to petition the Government for a

redress of grievances.” U.S. Const. amend. I. The Clause protects individuals’ ability to

“‘communicate their will’ through direct petitions to the legislature and government officials.”

McDonald, 472 U.S. at 482 (quoting 1 Annals of Congress 738 (1789) (James Madison)). In

McDonald, however, the Supreme Court concluded that the Petition Clause did not immunize a

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person from a libel suit based on letters the individual had sent to the President. Id. at 480–81;

see also Opp’n to Constitutional Motion at 34. The Court explained that the Petition Clause does

not have “special First Amendment status,” so “there is no sound basis for granting greater

constitutional protection” under the Petition Clause “than other First Amendment expressions.”

McDonald, 472 U.S. at 484–85. Defendant’s reliance on the Clause and its interpretation in

McDonald is therefore unavailing, as the Petition Clause does not prohibit prosecuting

Defendant’s speech any more than the Speech Clause does. The Petition Clause does not

insulate speech from prosecution merely because that speech also petitions the government.

       Defendant also invokes McDonnell v. United States, 579 U.S. 550 (2016), to argue that

allowing this prosecution would risk criminalizing statements once thought to be false that

turned out to be true, such as statements made early in the COVID-19 pandemic that masks do

not stop the transmission of the virus. Constitutional Motion at 13–14. Not so. First,

McDonnell did not involve the First Amendment but rather the proper interpretation of “official

act” under the federal bribery statute, 18 U.S.C. § 201(b)(2). McDonell, 579 U.S. at 566; see

Opp’n to Constitutional Motion at 34 n.14. And neither the Indictment nor the federal statutes

under which Defendant is charged involve an “official act.” Second, Defendant is not being

prosecuted simply for making false statements, see supra at 33–34, but rather for knowingly

making false statements in furtherance of a criminal conspiracy and obstructing the electoral

process. Consequently, there is no danger of a slippery slope in which inadvertent false

statements alone are alleged to be the basis for criminal prosecution.

       In his Reply brief, Defendant also raises overbreadth, arguing that under the

Government’s interpretation, the underlying statutes charged in the Indictment are

unconstitutional because they “criminalize a wide range of perfectly ordinary acts of public



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speech and petitioning the government.” Constitutional Reply at 9–10. Assuming Defendant’s

overbreadth challenge was properly raised for the first time in his Reply brief, the statutes are not

overbroad under the Government’s view. As an initial matter, Defendant’s actions are not

entitled to First Amendment protection as “perfectly ordinary acts of public speech and

petitioning the government.” Supra Section IV.B.1–2; infra Section IV.B.3. Moreover,

Defendant fails to identify any protected acts or speech that the statutes might render

impermissible under the Government’s interpretation. See, e.g., United States v. Hansen, 599

U.S. 762, 769–70 (2023) (A litigant must “demonstrate[] that the statute ‘prohibits a substantial

amount of protected speech’ relative to its ‘plainly legitimate sweep’” to succeed in overbreadth

challenge (citation omitted)).

   3. Defendant’s statements on the 2020 Presidential Election
       Finally, Defendant claims the First Amendment does not permit the government to

prosecute him for his reasonable belief that the 2020 Presidential Election was stolen.

Constitutional Motion at 15–17. He argues that the truth or falsity of his belief is not “easily

verifiable” and there is “abundant public evidence providing a reasonable basis” for his view. Id.

at 15–16. He contends that he is “entitled to mistrust the word of . . . establishment-based

government officials and draw [his] own inferences from the facts.” Id. at 17. At this stage,

however, the court must take the allegations in the Indictment as true, supra Section II, and the

Indictment alleges that Defendant made statements that he knew were false, e.g., Indictment

¶¶ 11–12; see also Opp’n to Constitutional Motion at 26–27. While Defendant challenges that

allegation in his Motion, and may do so at trial, his claim that his belief was reasonable does not

implicate the First Amendment. If the Government cannot prove beyond a reasonable doubt at

trial that Defendant knowingly made false statements, he will not be convicted; that would not

mean the Indictment violated the First Amendment.

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                                  V.       DOUBLE JEOPARDY

        Defendant’s Constitutional Motion next posits that the prosecution violates double

jeopardy because Defendant was tried—and acquitted—in earlier impeachment proceedings

arising out of the same course of conduct. Constitutional Motion at 18–24. But neither

traditional double jeopardy principles nor the Impeachment Judgment Clause provide that a

prosecution following impeachment acquittal violates double jeopardy.

A. Double Jeopardy Clause

        The Fifth Amendment provides that “[n]o person shall . . . be subject for the same offense

to be twice put in jeopardy of life or limb.” U.S. Const. amend. V. To “be twice put in jeopardy

of life or limb” means to face the possibility of “multiple criminal punishments for the same

offense.” Hudson v. United States, 522 U.S. 93, 99 (citation omitted) (emphasis in original). A

purportedly civil penalty only counts in the double jeopardy context if “the statutory scheme was

so punitive in either purpose or effect . . . as to ‘transform’” it into a criminal penalty. Id.

(citation omitted).

        As long as separate prosecutions charge an individual with violating different laws, the

prosecutions are considered separate “offenses” under the Double Jeopardy Clause and the

second prosecution passes constitutional muster. Denezpi v. United States, 596 U.S. 591, 597–

98 (2022). When the same “act or transaction” violates two distinct provisions of the same

statute, there are distinct offenses only if “each provision requires proof of a fact which the other

does not.” Blockburger v. United States, 284 U.S. 299, 304 (1932). In contexts involving

different sovereigns—such as the federal government and a state government—a person may be

tried for violating laws that “have identical elements and could not be separately prosecuted if

enacted by a single sovereign.” Denezpi, 596 U.S. at 597–98.



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        The Indictment here does not violate double jeopardy principles. First, impeachment

threatens only “removal from Office, and disqualification to hold and enjoy any Office of honor,

Trust or Profit under the United States,” U.S. Const. art. I, § 3, cl. 7, neither of which is a

criminal penalty. See supra at 9. Nor does Defendant argue that they are civil penalties that

should be construed as criminal penalties. See Constitutional Motion at 23–24. Second, the

impeachment proceedings charged Defendant with “Incitement of Insurrection,” which is not

charged in the Indictment. See Opp’n to Constitutional Motion at 60–62 (citing H.R. Res. 24,

117th Cong. (Jan. 11, 2021)). Although there are few decisions interpreting the analogous

federal statute that prohibits inciting “any . . . insurrection against the authority of the United

States or the laws thereof,” 18 U.S.C. § 2383, it is well-established that “incitement” typically

means “advocacy . . . directed to inciting or producing imminent lawless action” that is “likely to

incite or produce such action,” Brandenburg v. Ohio, 395 U.S. 444, 447 (1969). None of the

statutes under which Defendant is charged require the Government to prove incitement. See 18

U.S.C. § 371; id. §§ 1512(c)(2), (k); id. § 241; accord Indictment ¶¶ 6, 126, 128, 130. The

impeachment proceedings and this prosecution therefore did not “twice put” Defendant “in

jeopardy of life or limb” for the “same offense.”

        Defendant also contends his prosecution violates double jeopardy principles because the

distinct branches of government are part of one single sovereign. Constitutional Motion at 24.

But even assuming that is true, Defendant does not argue that impeachment carries a criminal

sanction or that the impeachment proceedings were based on the same offense as charged in the

Indictment. See id. at 23–24. Instead, he argues that different double jeopardy principles would

apply to prosecutions following impeachments, referencing only the Impeachment Judgment

Clause for support. Constitutional Reply at 18–20. But, as discussed below, the Impeachment



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Judgment Clause provides only that prosecutions following convictions at impeachment are

constitutionally permissible; it does not create special double jeopardy principles. See U.S.

Const. art. I, § 3, cl. 7; infra Section V.B. Consequently, the Indictment does not violate the

Double Jeopardy Clause.

B. Impeachment Judgment Clause

       The Impeachment Judgment Clause provides that “Judgment in Cases of Impeachment

shall not extend further than to removal from Office, and disqualification to hold and enjoy any

Office of honor, Trust or Profit under the United States: but the Party convicted shall

nevertheless be liable and subject to Indictment, Trial, Judgment and Punishment, according to

Law.” U.S. Const. art. I, § 3, cl. 7. As explained above, the first part of the Clause limits the

remedies available in impeachment, and the second part provides that even if a person is

convicted in impeachment proceedings, they may still be subject to criminal prosecution. See

supra at 8–10. As the Office of Legal Counsel noted, the “second part makes clear that the

restriction on sanctions in the first part was not a prohibition on further punishments; rather,

those punishments would still be available but simply not to the legislature.” OLC Double

Jeopardy Memo at *10.

       Defendant contends the Impeachment Judgment Clause contains a negative implication:

if a person is not convicted in impeachment proceedings, they may not be prosecuted.

Constitutional Motion at 18–23; Constitutional Reply at 10–11. In statutory interpretation, the

expressio unius canon, which provides that “expressing one item of an associated group or series

excludes another left unmentioned,” does not apply unless “circumstances support a sensible

inference that the term left out must have been meant to be excluded.” NLRB v. SW General,

Inc., 580 U.S. 288, 302 (2017) (citations omitted). Because Defendant’s reading is not supported

by the structure of the Constitution, the historical context of the impeachment clauses, or prior
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constitutional precedents, expressio unius does not apply. Accord Thompson v. Trump, 590

F. Supp. 3d 46, 86–87 (D.D.C. 2022). The Impeachment Judgment Clause does not provide that

acquittal by the Senate during impeachment proceedings shields a President from criminal

prosecution after he leaves office.

   1. Structure
       Structural considerations support reading the Impeachment Judgment Clause as the plain

language suggests. First, as the Government notes, impeachment and prosecution serve distinct

goals within the separation of powers. See Opp’n to Constitutional Motion at 52–53.

Impeachment “is designed to enable Congress to protect the nation against officers who have

demonstrated that they are unfit to carry out important public responsibilities,” whereas

prosecution is designed to “penalize individuals for their criminal misdeeds.” OLC Double

Jeopardy Memo at *13. Impeachment proceedings provide far fewer procedural safeguards than

do prosecutions, see id., and accordingly, Congress may not dispense criminal penalties in

impeachment proceedings, supra Section V.A. Impeachment is not a substitute for prosecution.

       Second, the Senate may acquit in impeachment proceedings even when it finds that an

official committed the acts alleged. For example, the Senate may acquit because it believes the

acts committed do not amount to “high Crimes and Misdemeanors,” U.S. Const. art. II, § 4;

because the Senate believes it lacks authority to try the official; or for partisan reasons. OLC

Double Jeopardy Memo at *14–15. Indeed, the Framers anticipated that impeachments might

spark partisan division. See The Federalist No. 65, at 330–31 (Alexander Hamilton); Letter from

Edmund Pendleton to James Madison, Oct. 8, 1787, 10 The Documentary History of the

Ratification of the Constitution 1773 (1976); 10 The Papers of James Madison 223 (Rutland et

al. ed., 1977); accord OLC Double Jeopardy Memo at *15. Acquittal on impeachment does not

establish the defendant’s innocence.

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        Defendant contends that impeachment serves to protect officials from political attacks by

their enemies, and allowing prosecution following impeachment acquittal would undermine that

protection. Constitutional Reply at 15–18. But politics are likely to play even larger a role in

impeachments than in prosecutions, given that impeachments are conducted by elected officials

politically accountable to their constituents, whereas prosecutions are conducted by appointed

officials, most of whom may not be removed without cause, see Free Enter. Fund v. Public Co.

Accounting Oversight Bd., 561 U.S. 477, 492–93 (2010) (explaining for-cause removal). And

former officials like Defendant, rather than current officials, are also less likely to be politically

attacked, because they no longer hold the power and authority of political office.

    2. Historical context
        Defendant claims that his interpretation of the Impeachment Judgment Clause reflects the

original public meaning of the impeachment clauses. Constitutional Motion at 20–21;

Constitutional Reply at 12–15. Considerable historical research undermines that contention. See

OLC Double Jeopardy Memo at *7–12 (“We are unaware of any evidence suggesting that the

framers and ratifiers of the Constitution chose the phrase ‘the party convicted’ with a negative

implication in mind.”); accord Thompson, 590 F. Supp. 3d at 87. Most notably, the Founders

repeatedly acknowledged that impeachment acquittals would not bar subsequent prosecutions.

For example, James Wilson, who participated in the Constitutional Convention, observed that

officials who “may not be convicted on impeachment . . . may be tried by their country.” 2 The

Documentary History of the Ratification of the Constitution 492. Edward Pendleton, who was

President of the Virginia Ratifying Convention, similarly observed that “an Acquital would not

bar,” a “resort to the Courts of Justice,” Letter from Edmund Pendleton to James Madison, Oct.

8, 1787, 10 The Documentary History of the Ratification of the Constitution 1773, a conclusion

that James Madison called “extremely well founded,” 10 The Papers of James Madison 223.

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Justice Story too described that, following impeachment, “a second trial for the same offence

could be had, either after an acquittal, or a conviction in the court of impeachments.” 2 Story’s

Commentaries § 780.

       Founding-era officials similarly acknowledged that an acquittal at impeachment

proceedings would not bar a subsequent prosecution. For example, during the first federal

impeachment trial, Representative Samuel Dana contrasted impeachment proceedings with

criminal trials, stating that impeachment had “no conne[ct]ion with punishment or crime, as,

whether a person tried under an impeachment be found guilty or acquitted, he is still liable to a

prosecution at common law.” 9 Annals of Congress 2475 (1798). None of the sources

Defendant cites refute that conclusion. See Constitutional Motion at 20–21.

   3. Prior precedent
       Defendant’s additional arguments invoking past constitutional precedents are similarly

unavailing. He first cites Justice Alito’s dissent in Vance. Constitutional Motion at 19–20. In

Vance, the Supreme Court held that a sitting President is not immune from state criminal

subpoenas, nor does a heightened standard apply to such requests. 140 S. Ct. at 2431. In so

holding, the majority opinion reiterated that “no citizen, not even the President, is categorically

above the common duty to produce evidence when called upon in a criminal proceeding.” Id.

Justice Alito’s dissent, moreover, noted that under the Impeachment Judgement Clause,

“criminal prosecution, like removal from the Presidency and disqualification from other offices,

is a consequence that can come about only after the Senate’s judgment, not during or prior to the

Senate trial.” Id. at 2444 (Alito, J., dissenting); see Constitutional Motion at 19. All Justice

Alito’s dissent observed is that, temporally, any prosecution must follow the judgment on

impeachment; no official shall be subject to simultaneous impeachment proceedings and



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criminal prosecution. The dissent does not support the view that if impeachment proceedings

end in acquittal, subsequent prosecution violates double jeopardy.

       Defendant also cites Fitzgerald for the proposition that the threat of impeachment alone

is the proper remedy against a President for any “official misfeasance.” Constitutional Motion

at 22. But as already explained, Fitzgerald is meaningfully distinguishable; it addressed

immunity from civil suit, and all nine Justices took care to emphasize that their reasoning did not

extend to the criminal context. See supra Section III.B.1.

       In sum, neither the Double Jeopardy Clause nor the Impeachment Judgment Clause

prevent Defendant, who while President was acquitted in impeachment proceedings for

incitement, from being prosecuted after leaving office for different offenses.

                                     VI.     DUE PROCESS

       Finally, Defendant contends that the Indictment violates the Due Process Clause because

he lacked fair notice that his conduct was unlawful. Constitutional Motion at 25–31.

A. Due process principles

       The Due Process Clause of the Fifth Amendment provides that “[n]o person shall . . . be

deprived of life, liberty, or property, without due process of law.” U.S. Const. amend. V. To

comply with due process, a law must give “fair warning” of the prohibited conduct. United

States v. Lanier, 520 U.S. 259, 265 (1997) (citation omitted). A law fails to give fair warning if

the text of a statute is so unclear that it requires the Judicial and Executive Branches to “define

what conduct is sanctionable and what is not,” Sessions v. Dimaya, 138 S. Ct. 1204, 1212 (2018);

see Lanier, 520 U.S. at 266 (citation omitted), or a judge construes the statute in a manner that is

“clearly at variance with the statutory language,” Bouie v. City of Columbia, 378 U.S. 347, 356

(1964); see Rogers v. Tennessee, 532 U.S. 451, 457 (2001); see also Lanier, 520 U.S. at 266.



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       For instance, in 2015, the Supreme Court concluded that the residual clause of the Armed

Career Criminal Act violated due process because it was so vague—and difficult to administer—

that defendants lacked notice of how it would be applied in any given case. Johnson v. United

States, 576 U.S. 591, 597 (2015). The Court explained that the residual clause required judges to

imagine an “ordinary case” involving the crime with which the defendant was charged, and

compare the defendant’s actions to that “ordinary case.” Id. at 597, 599. It further emphasized

that its “repeated attempts and repeated failures to craft a principled and objective standard out of

the residual clause confirm[ed] its hopeless indeterminacy,” id. at 598, noting that the clause had

caused “numerous splits among the lower federal courts,” id. at 601 (citation omitted).

       A statute does not fail to give fair warning just “because it ‘does not mean the same thing

to all people, all the time, everywhere.’” United States v. Bronstein, 849 F.3d 1101, 1107 (D.C.

Cir. 2017) (citation omitted). “Since words, by their nature, are imprecise instruments,” laws

“may have gray areas at the margins” without violating due process. United States v. Barnes,

295 F.3d 1354, 1366 (D.C. Cir. 2002). Indeed, statutes are rarely found unconstitutional because

their text fails to give fair warning. See, e.g., Bronstein, 849 F.3d at 1107 (statute upheld);

Barnes, 259 F.3d at 1366 (same); Woodhull Freedom Found. v. United States, 72 F.4th 1286,

1303–05 (D.C. Cir. 2023) (same); Kincaid v. Gov’t of D.C., 854 F.3d 721, 728–30 (D.C. Cir.

2017) (same); Agnew v. Gov’t of D.C., 920 F.3d 49, 55–61 (D.C. Cir. 2019) (same).

       Applying a novel judicial construction of a statute may also fail to give fair warning if it

“unexpectedly broadens” the statute’s reach and applies that expanded reach “retroactively.”

Bouie, 378 U.S. at 353–57; see Rogers, 532 U.S. at 457; Reed v. Goertz, 143 S. Ct. 955, 960–61

(2023). In Bouie, for example, defendants were convicted of violating a state law prohibiting

“entry upon the lands of another . . . after notice from the other . . . prohibiting such entry” after



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they remained on premises after being asked to leave, even though they did not re-enter the

premises. 378 U.S. at 355. The Supreme Court held that the state supreme court’s construction

of the statute failed to give the defendants fair notice because it was “clearly at variance with the

statutory language” and had “not the slightest support in prior [state] decisions.” Id. at 356.

B. The Indictment does not violate due process

       Defendant had fair notice that his conduct might be unlawful. None of the criminal laws

he is accused of violating—18 U.S.C. § 371; id. § 1512(k); id. § 1512(c)(2); and id. § 241—

require the Executive or Judicial Branch to “guess” at the prohibited conduct, Lanier, 520 U.S. at

266. Nor does finding that the Indictment complies with due process require the court to create a

novel judicial construction of any statute.

       Defendant notes that the “principle of fair notice has special force” in the First

Amendment Context. Constitutional Motion at 26–27. While that may be true, even “special

force” does not place Defendant’s alleged conduct “outside the plain language of the charged

statutes” as he alleges. See id. at 27. First, his argument does not contrast the allegations in the

Indictment with the plain language of the statutes, but instead attempts to recast the factual

allegations in the Indictment itself as no more than routine efforts to challenge an election. See

id. at 31 (claiming that “post-election challenges” like Defendant’s “had been performed in 1800,

1824, 1876, and 1960 . . . without any suggestion [it was] criminal”). But again, at this stage, the

court must take the allegations in the Indictment as true. Supra Section II, IV.B.3. The fact that

Defendant disputes the allegations in the Indictment do not render them unconstitutional.

Second, the meaning of statutory terms “need not be immediately obvious to an average person;

indeed, ‘even trained lawyers may find it necessary to consult legal dictionaries, treatises, and

judicial opinions before they may say with any certainty what some statutes may compel or

forbid.’” Agnew, 920 F.3d at 57 (citation omitted). And due process does not entitle Defendant
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to advance warning that his precise conduct is unlawful, so long as the law plainly forbids it. See

Lanier, 520 U.S. at 271; cf. United States v. Int’l Mins. & Chem. Corp., 402 U.S. 558, 563

(1971) (“ignorance of the law is no defense”).

       Defendant also claims he lacked fair notice because there is a “long history” of

government officials “publicly claiming that election results were tainted by fraud” or

questioning election results, yet he is “the first person to face criminal charges for such core

political behavior.” Constitutional Motion at 25; see id. at 27–30. But there is also a long

history of prosecutions for interfering with the outcome of elections; that history provided

Defendant with notice that his conduct could be prosecuted. See Opp’n to Constitutional Motion

at 39–40 (citing six examples of 18 U.S.C. § 241 prosecutions). Indeed, the Supreme Court has

addressed more than one case in which officials were prosecuted for interfering with or

discarding election ballots. United States v. Mosley, 238 U.S. 383, 385 (1915); United States v.

Saylor, 322 U.S. 385, 386 (1944).

       In addition, none of the contested elections Defendant invokes is analogous to this case.

See Opp’n to Constitutional Motion at 40–47 (detailing the history of each election). As noted

above, Defendant is not being prosecuted for publicly contesting the results of the election; he is

being prosecuted for knowingly making false statements in furtherance of a criminal conspiracy

and for obstruction of election certification proceedings. And in none of these earlier

circumstances was there any allegation that any official engaged in criminal conduct to obstruct

the electoral process. For instance, following the 2004 Presidential election, Representative

Stephanie Tubbs Jones raised an objection to Ohio’s electoral votes at the joint session; Senator

Boxer signed the objection. 151 Cong. Rec. 199 (Jan. 6, 2005). As Representative Jones

explained in a separate session, that objection was to allow “a necessary, timely, and appropriate



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opportunity to review and remedy . . . the right to vote.” Id. Ohio’s electoral votes were then

counted for President Bush. Defendant points to no allegation that Representative Jones’

objection was in furtherance of a criminal conspiracy or designed to obstruct the electoral

process.

       Moreover, even if there were an analogous circumstance in which an official had escaped

prosecution, the mere absence of prior prosecution in a similar circumstance would not

necessarily mean that Defendant’s conduct was lawful or that his prosecution lacks due process.

The “exclusive authority and absolute discretion to decide whether to prosecute a case”—within

bounds, supra at 19–20—is a cornerstone of the Executive Branch. Nixon, 418 U.S. at 693

(citation omitted).

       Finally, Defendant argues that, for the Indictment to comply with due process, the

prosecution bears the burden to “provide examples where similar conduct was found criminal.”

Constitutional Reply at 21. Under that theory, novel criminal acts would never be prosecuted.

The Constitution does not so constrain the Executive Branch.

                                     VII.     CONCLUSION

       For the foregoing reasons, the court will DENY Defendant’s Motion to Dismiss

Indictment Based on Presidential Immunity, ECF No. 74, and Motion to Dismiss the Indictment

Based on Constitutional Grounds, ECF No. 113. A corresponding Order will accompany this

Memorandum Opinion.



Date: December 1, 2023

                                                  Tanya S. Chutkan
                                                  TANYA S. CHUTKAN
                                                  United States District Judge


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